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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

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_UNITED STATES DISTRICT COURIE

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CLERK U.S. DISTRICT COURT

/ SOUTHERMDISTRICT OF CALIFORNIA’
SOUTHERN DISTRICT OF CALIFORNIA BY-ZZALD. DEPLITY

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vz. (For Offenses Committed On or

After November 1, 1987)

ANTONIO BENITEZ (1) Case Number: 22-CR-2848-CAB

CAMILLE FENTON, FEDERAL DEFEND

Defendant’s Attomey
USM Namber 60524-298
TC] -

THE DEFENDANT: .
EX] pleaded guilty to count(s) ONE (1) OF THE ONE-COUNT INFORMATION

wil BA 2623

CLERK U.S. DISTRICT COURT
ee DISTRICT OF CALIFORNIA
BY are

DEPUTY

[1 was found guilty on count(s)

after a plea of not guilty.

Accordingly, the defendant is adjudged guilty of such couni(s), which involve the following offense(s):

Title & Section Nature of Offense .
18 USC 751(@), 4082(a) = ESCAPE FROM FEDERAL CUSTODY (FELONY)

’ Count

Number(s)
1

The defendant is sentenced as provided in pages 2 through 2 of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984,

{_] The defendant has been found not guilty on count(s)

CO Countfs) is dismissed on the motion of

Assessment : $100.00

the United States.

x] Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is

waived and remitted as uncollectible.
[) JVTA Assessment*: $

“Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
No fine ~ C Forfeiture pursuant to order filed

, included herein.

IT 1S ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of

any material change in the defendant’s economic circumstances.

ol January 18¢2023
ce thin ate of Imgsition of Sentence
* thave executed wi Tes S
Commitment on z3 1

“Jyagement and

(ea States Marshal oo
fed) HON. Cathy Ann Bencivengo

ay? UNITED STATES DISTRICT JUDGE

. By: USMS Criminal Section
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DEFENDANT: ANTONIO BENITEZ (1) Judgment - Page 2 of 2
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
TIME SERVED (64 DAYS).

Sentence imposed pursuant to Title 8 USC Section 1326(b):
The court makes the following recommendations to the Bureau of Prisons:

oo

The defendant is remanded to the custody of the United States Marshal.

[]. The defendant must surrender to ihe United States Marshal for this district:
cL] at ALM. on

C as notified by the United States Marshal.

The defendant must surrender for service of sentence at the institution desi gnated by the Bureau of
Prisons:

L] on or before

1 as notified by the United States Marshal.

0 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on ‘ to
at : , with a certified copy of this judgment.
” UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

H

22-CR-2848-CAB
